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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

   NAUTILUS INSURANCE COMPANY,
                                                              Case No. 2:22-cv-1307-RMG
                    Plaintiff,
   v.
                                                       NAUTILUS INSURANCE COMPANY’S
   RICHARD ALEXANDER MURDAUGH,
                                                         MOTION FOR CLARIFICATION
   SR., CORY FLEMING, MOSS & KUHN,
   P.A., CHAD WESTENDORF, and
   PALMETTO STATE BANK,
                   Defendants.

        Nautilus Insurance Company (“Nautilus”) respectfully submits this request for clarification

with regard to the stay of this action entered by the Court on January 13, 2023 [ECF 99] (the “Stay

Order”). In the Stay Order, this Court granted Defendant Richard Alexander Murdaugh, Sr.

(“Murdaugh”)’s Second Motion to Stay [ECF 87] and stayed this case, finding that “a stay of this

action pending the completion of Murdaugh’s upcoming murder trial would further the interests of

judicial economy and administration.” ECF No. 99 at 2. The Stay Order provided that the stay of

this action would continue until thirty days after the completion of Murdaugh’s murder trial and

directed the Clerk of Court to administratively stay the case “until further order of the Court.”

        As thirty days have passed since the jury returned a verdict in Murdaugh’s murder trial,

Nautilus respectfully requests clarification as to whether the stay of this action was automatically

terminated 30 days after the murder trial concluded or whether the stay of this action remains—and

will continue to remain—in place until a formal Order is entered directing the Clerk of Court to lift

the stay. Nautilus so moves, out of an abundance of caution, because of approaching deadlines in the

current scheduling order, which all parties have consented to amending. See ECF 102, 103.



                                   [signature on following page]


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                                           Respectfully submitted:

This 12th day of April, 2023               /s/ Jaan Rannik
Charleston, South Carolina                 EPTING & RANNIK, LLC
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                                           COMPANY




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